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                               4   5th Floor
                                   Los Angeles, California 90067.3107
                               5   Telephone: 310.553.0308
                                   Fax No.:     310.553.5583
                               6
                                   Attorney for Defendant
                               7   THE GOODYEAR TIRE & RUBBER
                                   COMPANY
                               8
                                                                     UNITED STATES DISTRICT COURT
                               9

                         10
                                                                    CENTRAL DISTRICT OF CALIFORNIA

                         11        ARIN ESRAELIAN, as an individual,                     Case No.
                                   and on behalf of all similarly situated
                         12        employees,                                            DECLARATION OF ALECIA
                                                                                         WHITAKER WINFIELD IN
                         13                                Plaintiff,                    SUPPORT OF REMOVAL OF
                                                                                         CIVIL ACTION FROM STATE
                         14                 v.                                           COURT PURSUANT TO 28 U.S.C
                                                                                         SECTION 1332, 1441 AND 1446.
                         15        THE GOODYEAR TIRE & RUBBER
                                   COMPAN, and DOES 1-50, inclusive,                     Complaint Filed December 8, 2021,
                         16                                                              (Los Angeles County Superior Court,
                                                                                         Case No. 21STCV44620)
                         17                                Defendants.
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LITTLER MEND ELSO N P.C.           4881-9276-3146.1 / 056530-1322
     2049 C entury Park East
            5th Floor
  Los Angeles, CA 90067.3107
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                                                                DECLARATION OF ALECIA W. WINFIELD ISO REMOVAL
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                               1                    DECLARATION OF ALECIA WHITAKER WINFIELD
                               2            I, Alecia Whitaker Winfield, do hereby declare and as follows:
                               3            1.        I am a shareholder with the law firm of Littler Mendelson, a Professional
                               4   Corporation, counsel for Defendant THE GOODYEAR TIRE & RUBBER
                               5   COMPANY (“Defendant” or “Goodyear”) in the above-entitled matter. I am duly
                               6   licensed to practice law in the State of California and before the United States District
                               7   Court for the Central District.              Except where otherwise indicated, all of the
                               8   information contained herein is based upon my personal knowledge and if called and
                               9   sworn as a witness, I could and would competently testify thereto.
                         10                 2.        Attached hereto as Exhibit “A” is a true and correct copy of the
                         11        Complaint filed in Arin Esraelian v. The Goodyear Tire & Rubber Company and
                         12        Does 1 to 50 in the Los Angeles Superior Court, Case No. 21STCV44620.
                         13                 3.        Attached hereto as Exhibit “B” is a true and correct copy of the
                         14        documents served on Goodyear on December 22, 2021, in the matter of Arin
                         15        Esraelian v. The Goodyear Tire & Rubber Company and Does 1 to 50 in the Los
                         16        Angeles Superior Court, Case No. 21STCV44620, which includes: Summons,
                         17        Complaint, Plaintiff’s Notice of Labor Code Violations Pursuant to Labor Code
                         18        Sections 2698 et. seq., Alternative Dispute Resolution (ADR) Information Package,
                         19        Voluntary Efficient Litigation Stipulations, Order Pursuant to CCP 1054(a)
                         20        Extending Time to Respond by 30 Days When Parties Agree to Early Organizational
                         21        Meeting Stipulation, Civil Case Cover Sheet and Addendum, and Notice of Case
                         22        Assignment that was served on Defendant through its agent for service of process.
                         23                 4.        Attached hereto as Exhibits “C” – “E” are additional documents filed
                         24        in the instant case:
                         25                           Exhibit C: Initial Status Conference Order and Minute Order re
                         26        Initial Status Conference
                         27                           Exhibit D: Proof of Service of Summons and Complaint
                         28                           Exhibit E:      Notice of Minute Order and Initial Status Conference
                                   4881-9276-3146.1 / 056530-1322
                                                                                      2
LITTLER MEND ELSO N P.C.
        Attorneys at Law
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          310.553.0308                                          DECLARATION OF ALECIA W. WINFIELD ISO REMOVAL
                   Case 2:22-cv-00413-JFW-JPR Document 1-2 Filed 01/20/22 Page 3 of 3 Page ID #:19



                               1            5.         Attached hereto as Exhibit “F” is a true and correct copy of
                               2   Goodyear’s Answer filed on January 19, 2022.
                               3            6.        To my knowledge, Exhibits A through F constitute all process,
                               4   pleadings, and orders served upon Defendant or filed in the State Court action.
                               5            7.        Contemporaneously with the filing of this notice of removal in the
                               6   United States District Court for the Central District of California, written notice of
                               7   such filing will be given to Plaintiff’s counsel of record and a copy of the notice of
                               8   removal will be filed with the clerk of the court for the Superior Court of the County
                               9   of Los Angeles.
                         10                 I declare under penalty of perjury under the laws of the United States of
                         11        America and the State of California that the foregoing is true and correct.
                         12                    Dated this 20th day of January, 2022 at Los Angeles, California.
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                         14                                                               /s/ Alecia W. Winfield___
                                                                                          Alecia Whitaker Winfield
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          310.553.0308                                          DECLARATION OF ALECIA W. WINFIELD ISO REMOVAL
